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  Second Amended Complaint Redlined version used two-fold
  redlining:



  Pages 7 to 41: Red Text -additions, stricken out red text-
  deletions.



  Pages 1-6 are Pro Se pre set format not allowing the
  changes as stated above.



  Thus black color was used to strike out deletions and yellow
  highlight was used to denote additions.
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 Pro Se 2(Rev. 12/16) Complaint and Request for Injunction




                                        U1~IITED STATES DISTRICT COURT
                                                                        for the

                                                             Central District of California

                                                                   Western Division


                                                                                  Case No.     2:17 CV-07896 JAK-AS
                                                                                              (to befilled in by the Clerk's OJJFce)
                          Witold Kowbel
                            Plaindff(s)
(Write thefold name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfrt in the space above,
please write "see anached"in the space and attach an additional
page with thefull list ofnames.)
                                -v-




   University of Southern California,
                    aad ;,,~i~ ra,-~,
                           Defendants)                                     ~
(Write thefold name ofeach defendant who is being sued. Ifthe
 names ofall the defendants cannotfrt in the space above, please
 write "see attached" in the space and attach an additionalpage
 with thefull listofnames.)
                                           SECOND AMENDED REDLINED

                                    COMPLAINT AND REQUEST FOR INJUNCTION


 L         The Parties to This Complaint
           A.         The Plaintiffs)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                Name                                  Witold Kowbel
                                Street Address                        6841 E. Flamenco
                                City and County                       Tucson
                                State and Zip Code                    AZ 85710
                                Telephone Number                      520 405 6130
                                E-mail Address                        witoldkowbel(c~~mail.com




                                                                                                                                       Page 1 of 7
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          B.         The Defendants)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person'sjob or title (ilknown). Attach additional pages if needed.
                     Defendant No. 1
                               Name                           University ofSouthern California
                               Job or Title (rflrnown)
                               Street Address                 620 Mc. Carthy Way
                               City and County                Los Angeles
                               State and Zip Code             CA 90007
                               Telephone Number
                               E-mail Addtess(ifknown)


                     Defendant No. 2
                                                              !'~,T • 1~.(_" 1~T37"'_.
                               Name
                               Job or Title (ifknown)        ~ T Tom^ T


                               Street Address                                            nce
                               City and County              ~~~4a~$e
                               State and Zip Code           r e ~ i nQ
                                                            q
                               Telephone Number
                               E-mail Address(ifknown)


                     Defendant No. 3
                               Name                           Aa~~~~
                               Job or Title (irl~own)
                               Street Address
                               City and County                ~'
                                                            --.           -
                               State and Zip Code           ~T
                                                            r
                               Telephone Number
                               E-ma11 AddTeSs (if'krtown)     aC?1[y ll lac . .d ~


                     Defendant No. 4
                               Name
                               Job or Title (irknown)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number



                                                                                                                  Page 2 of 7
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                               E-mail Address(ifknown)


II.       Basis for Jurisdicrion

          Federal courts are courts oflimited jurisdicrion (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship ofthe
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Consritution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen ofthe same State as any plaintiff.

          What is the basis for federal courtjurisdiction? (check all rharapply)
                 ❑ Federal question                                  Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/ar provisions ofthe United States Constiturion that
                     are at issue in this case.




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.        The Plaintiffs)

                               a.         Ifthe plaintiffis an individual
                                          The plaintiff, (name) Witold Kowbel                                  is a citizen ofthe
                                          State of(name) Arizona


                               b.         Ifthe plaintiff is a corporarion
                                          The Ulaintiff, (name)                                                is incomorated
                                          under the laws ofthe State of(name)
                                          and has its principal place ofbusiness in the State of(name)



                             (Ifmore than one plaintif~'is named in the complaint, attach an additionalpage providing the
                             same informationfor each additionalplaintiff.)

                    2.         The Defendants)

                               a.         Ifthe defendant is an individual
                                          The defendant, (name)     '~.' .                                    , is a citizen of



                                                                                                                         Page 3 of 7
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                                          the State of(name)     California                               Or is a citizen of
                                        (
                                        foreign nation)



                               b.         Ifthe defendant is a corporation
                                          The defendant, (name)      University ofSouthern California   ,is incorporated under
                                          the laws ofthe State of(name)       California                            and has its
                                          principal place of business in the State of(name)
                                          Or is incorporated under the laws of (foreiQr► nanon)
                                          and has its principal place of business in (name)

                               (If more than one defendant is named in the complaint, attach an additionalpage providing the
                               same informationfor each additional defendant)

                               The Amount in Controversy

                               The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
                               stake—is more than $75,000, not counting interest and costs of court, because (explain):
                                The total amount of controversy is $455,000                                               ,
                                .~,~
                                 ,.~n* ^f~,~i~ic~ r~~b~d~         ;^P~ ~* *hP *ri~~. The total amount includes the following:
                                $211,000 in recovery of the fees and hution paid to USC since USC breached implied contract.
                                $244,000 for all other educational costs associated with the Plaintiffs son educarion at USC
                                since the Plaintiff sent his son to USC not any other school by accepting USC offer to send his
                                san to USC in return for USC complying with its Policies and Promises. USC did not comply
                                with its Policies and Frorrr~ses. $ ,



III.      Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plainriff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plainriff s rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.

          A.         Where did the events giving rise to your claims) occur?
                      University of Southern California (USC)




          B.         What date and approacimate time did the events ~ivin~ rise to your claims) occur?




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                      From Apri12013 till now




          C.         What are the facts underlying your claim(s)? (For example: What happened to y~nu? Who did what?
                     Was anyone else involved? Who else saw what happened?)

                     Claim One. Breach ofImplied Contract Against USC
                     A. Implied Contract.
                      Contract existence elements of mutuat assent`and good consider ofthis implied in fact contract
                     are defined by USC and the Plaintiffs factual conduct as stated below. The Plantiff has implied in fact
                     contract with USC. The eacistance and terms ofthis impled in fact contract are defined by USC and the
                     Plaintifffactual conduct as stated below. In Spring of2013 USC accepted the Plantiffs son.
                     Subsequently USC has invited the Plaintiffto USC campus for one full day visit. USC extremely
                     aggresively has used its marketiung tools and sales tools trying convince the Parents of potential USC
                     students to send their children to USC and pay to USC for their services vs sending their children
                     other schools where their children got also accepted and paying other schools not USC. USC has
                     made it very clear to the Plainriff how critical to USC are the Parents and their money since in many
                     cases at USC the parents bear all the cost oftheir children educarion at USC which is extremely high,
                     at least. USC has described in its sale efforts the broad range of educatational services it would offer
                     to its students in considerarion for the money their parents would pay to USC not merely just the
                     classes in order to be more comperirive in the educational service business. During the freshmsn year
                     USC actually required the students to live on campus, thus the parents would not only pay USC for
                     tuition and fees but for boarding and lazgely for food, USC has clearly stated that other considerarions
                     notjust classes are offered at USC for the parents money paid to USC. It was clearly understood by the
                     Plaintiff that USC understood during its marketing efforts that parents who pay for their children to
                     USC have cleaz RIGHTS at USC in consideration for their money paid to USC. Actually USC has
                     claimed how its networking is the biggest asset they offer vs their competition in educational services
                     and how crirical are parents to USC.

N.        Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result ofthe events described above, or why such compensation
          could not be measured.
          The Plainriff has been suffering from December 2016 rill now emotional distress, and in some cases extremely
          acute distress and on a few occasions came close to suffer irreparable injury due to USC Breach ofImplied
          Contract,                       e Claim as stated in this complaint. The Defendants absolute refusal to end
          Plaintiffs emorionai distress will cause the Plainriff irreperable injury absent ofinjunction relief. No fuhue
          monetary compensation will ever repair such damage. There is absolutely no standard which can quantify and
          measure such irreparable injury.




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V.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are conrinuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          This court injuncrion relief is the only avenue available to the Planriffto prevent irreparable injury to the
          Plainriff which will be caused by the Defendants Breach ofImplied Contract, Frt~~                     ice unless
          injuntion is granted. Thus the Plaintiff seeks this Court Injunction to prevent irreparable    injury to the Plaintiff.
          In addirion, the Plainriff demands the Defendantsto the pay the Plaintiff' x,040 in compensatory
          damages plus interest and court cost plus                                                                     .The
          compensatory damages include: $211,000 in recovery ofthe rirition and fees paid by the Plaintiffto USC. USC
          breached implied in fact contract with the Plainriffthus the Plainriff is enirittled to revover the money he has
          paid to USC plus the interest. In addition the Plaintiff demands USC to pay him the $244,000 for all other costs
          the Plainriff has incured with his son educarion at USC. The basis for it is the fact that the Plainriff would have
          never sent his son to attend USC absent ofthe implied promises USC made to the Plainriff and USC has
          breached all its implied promises made to the Plaintiff.                                                         d
          N                                                              ,
                                                                           •                                                   o




VI.       Certification and Closing

          Under Federal Rule ofCivil Procedure 11, by signing below, I certify to the best of my knowledge, informarion,
          and beliefthat this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost oflirigation;(2)is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing ea~isting law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and(4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.        For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date ofsigning:                        07/07/2418


                    Signature of Plaintiff
                    Printed Name ofPlaintiff                Witold Kowbel

          B.        For Attorneys




                                                                                                                       Page 6 of 7
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                     Kow~e! ~ls USG          Additioraa! ~a~Ps




  III. Statement of Claims.
  Claim One. Breach of Implied Contract against USC (continuation).
   UDC stated to the parents, including the Plaintiff, that their children would
  get the credits for all properly classes and get USC degree/diploma after
  earning the needed credits. USC explicitly stated the uniqueness of USC
  degree, claiming highly unique USC degree would offer the parents who
  pay for all the extremely expensive educational cost at USC (tuition on the
  top bracket plus extremely expansive housing, making USC one of the
  most expensive private Universities in the USC) a degree for their children
  which would make them ultra- competitive in the market place and assure
  their excellent career and result in their financial independence from their
  parents. In addition, USC explicitly stated to the parents, including the
  Plaintiff, that it would always treat their children fairly and objectively and
  USC would never in any unfair conduct which would unfairly deprive
  parents of earned USC credits and or USC degree which they earned
  as stated above. Also USC stated, it would apply all its policies, rules and
  regulation in a fair manner to them by strictly adhering to them, when the
  parents send them to USC and pay for their educational expenses at USC.
  USC stated it PRIDES ITSELF in NON ALLOWING any UNFAIR treatment
  of its students. Making unsupported accusations by USC Professors
  against their students to deprive them of properly earned credits clearly
  constitutes non- fair conduct not allowed by USC's promise as stated
  above. Using unsupported accusations made by USC Professors against
  USC students in any disciplinary proceedings against USC students
  clearly constitutes non-fair conduct not allowed by USC's promise as
  stated above. Depriving USC students of properly earned credits and a
  degree by the use of unsupported accusations made against them by their
  USC instructors clearly constitutes non-fair conduct not allowed by USC's
  promise as stated above.


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  Thus, fair treatment by USC own admission, clearly included making no
  unsupported accusations by USC against its students, which USC could
  later use to deprive its students of earned credits and a degree from USC.
  Thus, USC's fairness Promise based upon the above stated facts
  included: allowing the students to get credits for properly completed
  classes, allowing the students to get degree/diploma after they earned the
  needed USC credits and not to engage in any unfair conduct against its
  students including making unsupported accusations, which would deprive
  the parents children of properly earned credits and USC degree/diploma.


   I n simple terms, USC made its competitive implied in fact offer to the
  parents, including the Plaintiff, to provide educational service package to
  their children, including allowing the students to get the credits and get the
  degree and be treated FAIRLY as stated above. claimed to be very unique
  in clear consideration of the parents sending their children to USC and
  paying for their educational service to USC and paying for all other
  expenses at USC
  USC's promise to treat its students Fairly, imposed the following binding
  obligation on USC's conduct which could affect the Plaintiff by the following
  FACTS.
    U nder no circumstances, USC on its own admission was allowed to treat
  Plaintiff's son unfairly by making unsupported accusations against him and
  then later use unsupported accusations against him, to take the earned
  credits away from him and prevent him from getting USC diploma/degree
  when he became USC student.
  That was a huge benefit to the Plaintiff by providing assurances that his
  son would have never be unfairly deprived of any earned credits and
  unfairly deprived of USC diploma/degree which would directly affect the
  plaintiff as stated below. USC's fairness promise made to the parents
  including the Plaintiff, as stated above, imposed binding obligation on
  USC's conduct which could affect Plaintiff in the following way:
  Since the plaintiff was paying for all the educational cost at USC, he would
  suffer the following damages when USC treated Daniel unfairly in violation
  of its fairness promise: a) when USC deprived Daniel unfairly by making

                                        s
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   unsupported accusations of any credits needed for his graduation, Plaintiff
   would have to unjustly pay USC again for the same credits and all the
   educational expenses associated with spending additional time at USC, b)
   when USC deprived Daniel unfairly by making unsupported accusations of
   USC degree/diploma, Plaintiff would lose all the money he has spent for
   Daniel's education, since USC degree was the sole reason Daniel has
   attended USC thanks to Plaintiff covering all his educational cost at USC.


   The facts stated in this complaint established that USC unfair treatment of
   Daniel costs Plaintiff $455,000 since case (b) as stated above applies.
   USC's unfair treatment of Daniel by making and using unsupported
   accusations against Daniel, deprived Daniel of his USC degree and directly
   damaged the plaintiff as stated in (b).
    Thus, the fairness promise made by USC to the parents including Plaintiff
   in Spring of 2013, was not only a clear benefit to the Plaintiff but it imposed
   a binding obligation on part of USC to its conduct, which could directly
   affect the plaintiff as stated above and in fact affected the Plaintiff by
   damaging him to the extent of $455,000 since USC treated Daniel unfairly
   and deprived him of USC degree.


   Before accepting USC implied in fact offer with the above stated promises
   USC has made to the parents including the Plaintiff, to send his son to USC
   and paying for all his educational expenses at USC including paying tuition
   and fees to USC, Plaintiff has evaluated other Universities which also have
   accepted Plaintiff's son.
   Since several Universities have offered much more favorable financial
  terms and the Plaintiff would be paying for all the educational expenses for
   his son, Plaintiff has very carefully evaluated all the available materials
  from ~J~C (catalogs, p4li~ie~, rules, regulatiQn~, eta). Ampng Qther
  documents the Plaintiff has thoroughly studied USC Code of Ethics
  (officially adapted by USC Board of Trustees on March 28, 2004


                                                                  how the
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   promises made in USC Code of Ethics could affect the Plaintiff direct!~:).
   First USC Code of Ethics stated:" At the University of Southern California,
   ethical behavior is predicated on two main pillars: a communication to
   discharge our obiigation ire ~ fair and honest manner..." Th.,+ ~+-,+o~
   ~ri   ~nr (lichnnoc~~~ ~c rr~~_~~

   ~     ~~~~~  ~+
              ~;~-E~~S-~r             ~s;~~ That statement clearly meant to
   the Plaintiff that USC is obligated to treat his son, Daniel FAIRLY consistent
   with the promise USC made to parents, including the Plaintiff in Spring
   2013 visit to USC. As stated above USC has expressly provided Plaintiff
   in its implied in fact offer with binding obligation not to treat Plaintiff's son
   Daniel unfairly when he becomes a USC Student and Plaintiff will pay for
   his educational expenses at USC. That binding obligation could affect
   plaintiff the same way as stated above in the case of USC fairness
   promise. Also as stated above in the case of USC fairness promise, that
    USC binding obligation provided Plaintiff with direct benefit.



         _ .._.      e     - e   •-e       -- -        --          -•      ~•- •
                  e - --     •• e      -     ~     _r       .• •   -    ee 'e



      Since Daniel is USC student, he is a part of USC community and that
   promise clearly extends to him. That promise clearly states that USC was
   not allowed to take unfair advantage of Daniel by any means which could
   constitute taking unfair advantage of Daniel by USC.


   USC Code of Ethics promise" we do not take unfair advantage of anyone"
   i mposed three binding obligations on USC's conduct which could affect
   Plaintiff by the following FACTS:
   Allowing USC Professor Tenderich to make unsupported accusations
   against Daniel in his official complaint to SJACS which could deprive Daniel
   of his earned USC credits and USC degree clearly constitutes taking
   unfair advantage of Daniel by USC and it was not allowed by USC's own
   admission by USC's Code of Ethics promise as stated above. Allowing
   USC's SJACS to make subjective, unsupported by any evidence decision,

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  against Daniel; which would deprive him of earned USC credits and USC
  degree constitutes taking unfair advantage of Daniel by USC and it was
  not allowed by USC's own admission by USC's Code of Ethics promise as
  stated above. Allowing USC's Appeal Panel to render unsupported, FINAL
  decision against Daniel, which would deprive him of USC earned credits
  and USC degree clearly constitutes taking unfair advantage of Daniel by
  USC and it was not allowed by USC's own admission by USC's Code of
  Ethics promise as stated above.
      Thus, making unsupported accusations against Daniel, by his USC
   i nstructor, which in fact were the basis to deprive him of properly earned
   credits and then USC using such unsupported accusations in its SJACS'
   case against him to finally deprive him of USC earned credits and
   degree/diploma clearly constitutes taking unfair advantage by USC of
   Daniel in clear violation of its Code of Ethics promise: " we do not take
   unfair advantage of anyone..." and it was prohibited.
      Thus, Daniel's USC instructor Tenderich, on USC's own admission
   was not allowed to make unsupported accusations against Daniel which
   could deprive him of earned USC credits and USC degree. In fact,
   Daniel's instructor Prof. Tenderich used unsupported accusations against
   him to initiate USC's Disciplinary action against him. On its own
   admission, USC was not allowed to use unsupported accusations against
   Daniel in its initial SJACS' proceedings to render its decision against him
   depriving him of earned credits and USC degree. In fact, USC's SJACS
   used unsupported accusations against Daniel in its SJACS' case against
   him to deprive him of earned credits and USC degree. On its own
   admission, USC's Appeal Panel was not allowed to use unsupported
   accusations to render its FINAL decision against Daniel depriving him of
   earned USC credits and USC degree. In fact, USC's Appeal Panel used
   unsupported allegations to render its decision against Daniel.
    USC's promise not to take unfair advantage of Daniel with these three
   binding obligations as stated above was a clear benefit to the Plaintiff by
   providing Plaintiff with the assurances that USC would not take away from
   Daniel his earned credits and deprive him of USC diploma/degree by
   engaging in an unfair conduct including making unsupported accusations.
   That benefit was similar benefit to that as described above in case of

                                        ~1
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   USC's fairness promise made in Spring of 2013 to parents including the
   Plaintiff.
   USC's promise not to take unfair advantage of Daniel with its three
   binding obligations as stated above also imposed binding obligations on
   part of USC on its conduct which could affect the Plaintiff in the following
   way:
      First, USC promise not to take unfair advantage of Daniel did not allow
   Daniel's instructor, Prof. Tenderich to make unsupported accusations
   against Daniel in his SJACS' complaint which could deprive him of earned
   USC credits and USC degree. It could affect the Plaintiff directly since
   allowing Tenderich to make unsupported accusations against Daniel could
   result in changing Daniel's earned grade from C to F and could deprive
   Daniel of credits needed for graduation and USC degree. Thus, the
   Plaintiff would have to pay USC unjustly for getting the same credits again
   and the full cost associated with spending additional time at USC to
   unjustly re take the same class. Depriving Daniel of USC degree would
   cost Plaintiff $455,000 full educational cost at USC since USC degree was
   the sole reason Plaintiff sent Daniel to USC and incurred $455,000 cost.
   Secondly, USC's promise not to take unfair advantage of Daniel, did not
   allow SJACS to use unsporting accusations against Daniel and in fact
   change his earned C grade to F, which deprived Daniel of credits needed
   for graduation and USC degree. The direct affect on the Plaintiff is stated
   above in the case of the first obligation.
    Thirdly, USC's promise not to take unfair advantage of Daniel did not
   allow USC's Appeal Panel to use unsupported accusations against Daniel
   to affirm SJACS' unsupported decision, and finally changed his earned
   grade C to F, and deprived him of USC credits needed for graduation and
   USC degree, since USC claims its 100% unsupported Appeal Panel's
   decision is FINAL within USC system. The direct affect on the Plaintiff is
   stated above in the case of the first obligation.
     Receiving the earned credits at USC needed for graduation and
   receiving USC diploma/degree by Daniel was undisputed benefit to not
   only to Daniel but clearly to the Plaintiff. With USC degree/diploma Daniel
   could get good job and support himself and be able to pursue good carrier
   and become financially independent as USC claimed it would happen due
                                        2z
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   to uniqueness of USC degree. Since Daniel is Plaintiff's son, Plaintiff
   would directly benefit from it, by not worrying about his son's future and the
   need to support him in the future after he gets his USC diploma/degree.
    USC, as stated above, fully admitted that degree from USC, not just
   taking classes from USC would justify for the parents to cover extremely
   high educational cost at USC. Without getting the degree the money spent
   on USC education would be a huge financial loss to the Plaintiff on USC's
   own admission as stated above. Therefore, the Plaintiff has suffered a loss
   of $455,000 since his son was deprived by USC's conduct of taking unfair
   advantage of him by his instructor making unsupported accusations against
   him, USC's SJACS and Appeal Panel using the unsupported accusatioins
   against Daniel to deprive him of properly earned USC credits and USC
   diploma/degree.
   Thus, USC failure to keep its implied in fact promise not to take unfair
   advantage of Daniel in its conduct described above resulted in $455,000
   loss to the Plaintiff.
    I n addition, USC asked Daniel to write a five page essay on ethics since
   he allegedly committed Academic Dishonesty while USC provided zero
   supporting evidence. For Daniel, that was the ultimate USC
   U NFAIRNESS and caused Daniel additional huge emotional suffering.
   Daniel's suffering resulted in Plaintiff's huge emotional suffering
    Thus, taking unfair advantage as specified above affected the plaintiff by
   causing Plaintiff to suffer financial losses and huge emotional distress as
   stated above.
    USC's Code of Ethics statement " we not take unfair advantage of
   anyone" was also a highly unique statement. As clearly stated above and
   below keeping promises made by USC in its implied offer/promise made in
   Spring 2013 and its Code of Ethics was essential to Plaintiff not to be
   damaged and not suffer financial losses in educational expenses for
   Plaintiff's son, Daniel at USC.
    For comparison, Arizona State University, which made Plaintiff's son
   hugely more competitive offer had no mention of not taking unfair
   advantage Promise in its Code of Ethics and never stated "We keep these
   promises." as USC stated in its Code of Ethics. Therefore, USC's

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  promises and undisputed, documented intent in its Code of Ethics to keep
  its promises made USC unique to the Plaintiff and it was the decisive factor
  Plaintiff sent his son in August of 2013 to USC so he can get USC degree
  claimed by USC to be so unique. In addition, USC policy on Student
  Conduct Code(SCC)sections 10.11.1 and 15.04 strictly required USC to
  provide preponderance of evidence standard in its disciplinary proceedings
  to Daniel since he is USC student and Student Conduct Code directly
  applies to him. Also as USC stated in Spring 2013 during Plaintiff's visit,
  USC was required to strictly comply with its publicly stated rules and
  regulations in a fair manner by strictly applying to Daniel who is USC
  student preponderance of evidence standard in Daniel's disciplinary
  proceedings .since it is a USC rule and Daniel is USC student. Thus, strict
  compliance with the preponderance of evidence standard was absolutely
  required by USC as was clearly promised by USC to the Plaintiff in Spring
  of 2013. That promise clearly extended to USC's SJACS proceedings
  against Daniel. Also, USC rules directly apply to Daniel as USC Student
  and USC is obligated to comply with them by USC's own admission in its
  own Code of Ethics " we keep promises". Thus, USC was required to
  comply with its preponderance of evidence standard in its SJACS'
  proceedings against Daniel and not to deprive Daniel of his earned credits
  and or degree by USC's failure to comply with its required and mandatory
  preponderance of evidence standard.
  Again, that was a clear benefit for the Plaintiff regarding any USC
  Disciplinary actions against DANIEL which would deprive him of earned
  credits and degree by advancing unsupported accusations within USC's
  disciplinary proceedings and causing the Plaintiff direct financial losses as
  discussed above in the case of USC's Fairness promise made in Spring of
  2013 and USC's Code of Ethics promise not to take unfair advantage of
  Daniel.
   USC's promise to use its preponderance of evidence standard in its
   disciplinary proceedings in Daniel's case imposed binding obligations on
   USC's conduct which could affect the Plaintiff by the following FACTS:
   USC's promise to comply with its policy on preponderance of evidence as
  stated above imposed a binding obligation on the part of USC to its
  conduct at the initial review and USC Appeal Panel's conduct, which

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   could affect and in fact affected the plaintiff by causing him financial
   losses as stated below.
     USC's promise to use preponderance of evidence in Daniel's SJACS
   case initial review by Barton, could affect the plaintiff since Barton's failure
   to apply this standard would result in depriving Daniel of earned credits
   required for graduation and USC degree despite the fact that the
   preponderance of evidence was 100% in favor of Daniel. Thus, under no
   conditions, Barton could affirm Tenderich's accusation and impose 100%
   unjustified sanctions on Daniel within the meaning of the preponderance of
   evidence standard of proof. Since the Plaintiff has paid for all educational
   cost for Daniel, the direct affect on the Plaintiff was stated above in the
   case of USC's fairness promise and USC's Code of Ethics, " we do not
   take unfair advantage of anyone" Promise.
  USC's promise to use preponderance of evidence in USC Appeal Panel's
  decision, could affect the Plaintiff since Appeal's Panel failure to use
  preponderance of evidence would deprive Daniel of earned credits required
  for graduation and USC degree despite the fact that preponderance of
  evidence was 100% in Daniel's favor. Thus, USC Appeal Panel's failure to
  apply USC mandatory preponderance of evidence standard of proof would
  i mpose, final 100% unjustified sanctions against Daniel depriving him of
  yarned USC credits and USC degree. Since Plaintiff has paid for all
  Daniel's educational cost at USC, the direct affect on the Plaintiff was
  stated above in USC's fairness promise and USC's Code of Ethics, " we do
  not take ~,ar.f~ir ~~vantage of anvr~n~" promise.
    Pl~int~ff hay clearly ~~cepted a!! the ~+"+omon~c promises made by USA in
  Spring of 2013 during Plaintiff's visit to USC, in its Code of Ethics and its
  other policies, rules and regulations including its Student Conduct Code
  (SCC) preponderance of evidence, SCC sectian5 1Q ~I '! ~n~ 15 C~4 as tine
   implied promises which are the integral part of the educational services
   USC implied in fact offer made to the Plaintiff during the one day visit to
   USC. On its own aamission, U5C stated in its Code of Ethics" when we
   make promises as the institution, or as individuals who are authorized on
   behalf of USC, we keep these promises". Therefore, Plaintiff has been
   100% justified expecting USC to comply with its promises made to the
  Plaintiff which could affect Pia~ntiff. since U~~ on its own a~mi~sio~ Mated

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   it complies with its promises it is undisputed fact, Defendant USC had
   actual knowledge that Plaintiff expected 100% USC compliance with its
   promises which could affect plaintiff, when U~~ has accepted Plaintiff's
   payments for his son's educational services at USC. All the promises
   made by USC as stated above imposed binding obligations on USC's
   conduct which could affect Plaintiff by causing him financial losses as
   stated above and in fact greatly affected Plaintiff by causing him great
   financial losses as stated below. Plaintiff has fully expected USC to keep
   all its promises to prevent USC from inflicting damages on the Plaintiff
   when USC accepted knowingly Plaintiff's payments.
   Promises made by USC in its implied in fact offer, Code of Ethics and USC
  Student Conduct policy provided direct benefit to the Plaintiff since USC
  compliance with these promises would assure the Plaintiff that his son
  Daniel would receive his USC credits and degree if he duly earned all the
  credits even if False Accusations or any other form of unfair/taking unfair
  advantage conduct was ever made against him by USC. Since these
  promises created binding obligations which could affect the Plaintiff as
  discussed above to cause him financial losses, under no circumstances
  Plaintiff would accept implied in fact offer from USC, sent his son to USC
  and paid for his expenses if USC made no such promises to the Plaintiff.
  Thus, if USC kept its promises/binding obligations to treat Daniel fairly, not
  take unfair advantage of him and apply preponderance of evidence
  standard in his SJACS' proceedings, Plaintiff would have never been
  damaged and never lost the money paid for Daniel educational services at
  USC.
    Receiving USC degree was the sole purpose of Plaintiff sending Daniel to
  USC and paying for all the associated costs. ~~!bsequently, between
  August 2014 and May 2017 Plaintiff's son has attended USC and took all
  USC classes needed for his graduation from USC. Plaintiff has directly or
  indirectly (co-signed his son student loan) paid for all the educational
  costs including tuition, fees, board, food, transportation, books, etc (total of
  $455,OOa)for Daniel from €august 2013 till May 2u17 at i.1SC. The total
  cost of tuition and fees paid to USC was $211,000. Plaintiff has obligated
  himself to pay for all the tuition and fees by providing USC with his
  accounts for the payments plan. Therefore, Plaintiff made himself 100%
  responsible for Daniel's fees and tuition at USC

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    Daniel has never obligated himself to make any payments for fees and
   tuition to USC. Daniel had absolutely no financial resources to pay any
   money to USC so he could not obligate himself to pay USC any money
   and was able to attend USC solely because of Plaintiff's payments. USC
   had actual knowledge that Plaintiff not Daniel was obligated to pay for
   Daniel's tuition and fees. USC took $211,000 from Plaintiff and simply
   deprived unfairly Daniel of his degree and damaged the Plaintiff despite the
   definite promises USC has made. The only reason Plaintiff has obligated
   himself to pay for all USC fees and tuition was for USC to give Daniel the
   diploma after he properly earns all required USC credits as was clearly
   promised to Plaintiff.
   USC has accepted all Plaintiff's payments and in consideration of the
   payments it received from the Plaintiff, USC has allowed Daniel to take all
   USC classes at USC needed for getting his diploma/degree from USC.
   Daniel has duly earned all the USC credits required for getting his diploma
   in Public Relations from USC.
   Per implied in fact promises made by USC to the Plaintiff in the implied in
  fact offer Daniel should be able to get his diploma from USC since he
  properly earned all the required credits at USC. But, first USC took unfair
  advantage of Daniel in a dual mode. First, it allowed his Professor to make
  unsupported accusations against Daniel and then it used the unsupported
  accusations to unfairly changed his duly earned grade C to F which in fact
  deprived Daniel of the needed credits for getting his USC diploma/degree
  which is clearly taking unfair advantage of Daniel. The only reason Plaintiff
  paid $211,000 to USC and incurred the total educational cost of $455,000
  was to get his son's diploma/degree from USC
  The above facts establish mutual assent: Plaintiff obligated himself to pay
  all tuition and fees at USC for Daniel and USC accepted it; USC obligated
  itself to give Daniel credits for meeting all the class requirements, give him
  the degree when he earns the needed credits at USC and treat Daniel fairly
  and in compliance with Its promises made during Spring 2013 Plaintiff's
  visit to USC and in its Policies and not deprive him unfairly of earned
  credits and or a degree. Plaintiff has accepted all the promises made by
  USC as the part of USC implied in fact offer.



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  The above Mated FACTS clearly define the following implied in fact
  contract the Plaintiff has with USC. In consideration for the Plaintiff's
  $211,000 paid to USC for his son's tuition and fees, USC had the
  following contractual obligations to the Plaintiff.




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                                       First, USC was required to allow Daniel to
  take classes at USC so can earn the credits required for getting the
  diploma/degree, Secondly, USC was not allowed to treat Daniel unfairly
  and take unfair advantage of him by making unsupported accusations
  against him by his own instructor which could deprive him of earned USC
  credits and degree .Thirdly, USC was not allowed to treat Daniel unfairly
  and take unfair advantage of him by using unsupported allegations against
  him in its SJSCS's proceedings against him which deprived him unfairly of
  the properly earned USC degree and USC credits. Fourth, USC was
  required to follow its Disciplinary policy on preponderance of evidence SCC
  sections 10.11.1 and 15.04 and not deprive Daniel of his properly earned
  degree and or credits by its failure to apply the preponderance of evidence
  standard in a fair manner to his SJACS' case. All USC
  considerations/obligations stated above clearly provided benefit to the
  Plaintiff as justified above and are very definite since USC breach of its
  obligations can be objectively determined by the facts stated below. In
  addition all the promises made by USC created binding obligations which
  could affect the Plaintiff by causing him financial losses as specifically
  discussed above.
  B. Defendant's Conduct resulting in Breach of Implied Contract




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   USC has breached its second and third obligation as stated above.
           a) USC treated Daniel unfairly and took advantage of him by depriving
              him of earned Credits in PR 429 class and depriving him of getting
              his degree from USC and unfairly labelling him Dishonest with no
              supporting evidence.

   1. USC used unsupported accusation against him in his SJACS'
    proceedings
   Daniel's instructor, Prof. Tenderich, in PR 429 in Fall 2016 Semester on
   October 27, 2016 submitted his complaint against Daniel to SJACS. As
   alleged supporting evidence he provided a memo, USC IT log, a hard copy
   of Midterm paper, and a forwarded email. In addition on December 16,
   2016, USC SJACS Judicial Officer Barton, provided a copy of metadata
   picture to Daniel, which he claimed corresponded to PR 429 Midterm,
   PDF file submitted to Tenderich by Daniel on 10/17/2016 11:49:15 PM.
   Tenderich stated in his memo, paragraph seven: "In addition, the pdf
   document he submitted as his midterm has a date stamp of Monday,
   October 17, 11:52:15 AM and therefore seems to have been created six
   days after the date due. He provided no hard copy of metadata with that
   date. SJACS claimed a copy of a picture sent to Daniel on December 16,
   2016 is Tenderich's corresponding metadata. But metadata provided by
   SJACS has the creation date of PDF file PR 429 Midterm of 10/17/2016
   6:52:15 PM. That is not the date Tenderich stated as the supporting
   evidence in his memo.
    Furthermore, Tenderich's memo and IT log state that on 10/17/2016 at
   11:56 AM Daniel submitted email to Tenderich, and attached the same

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   PDF PR 429 Mid term file, which he later submitted the same day, seven
   hours later at 11:49:15 p.m. Since both files are identical, PR 429
   Midterm.PDF, the metadata provided by SJACS on December 16, 2016
   equally corresponds to the file Daniel submitted to Tenderich on
   December 17, 2016 at 11:52 a.m and the file he submitted seven hours
   later at 11: 49:15 p.m. . Thus, the alleged file creation date supplied by
   SJACS could not represent the original file creation date since a non
   existing file could not have been sent seven hours before its creation.
   Therefore, SJACS should had never been allowed to use that picture,
   which provided absolutely no evidence on original file creation date as the
   alleged supporting evidence of Tenderich's complaint against Daniel . The
   alleged evidence supplied by SJACS to support Tenderich's accusations
   against Daniel, that PR 429 Miterm PDF file was created on October 17,
   2016 provides no evidence at all on the original PR 429 PDF file creation.
   It provides absolutely no evidence that original PR 429 PDF file was
   created on October, 17 2016 and not on October 11, 2016.
   As stated on page 17 of Exhibit A, that was only possible since file creation
   in metadata could be changed:" But as stated by my witness, verified by
   Adobe and proved by my Exhibits E and F, PDF Document Properties has
   nothing to do with the PDF Document time/date stamp and is subject to
   changes, editions, alterations, etc by a number of mechanisms. Therefore,
   it does not and it can not represent the original document creation date in
   m y case".
   Thus, Tenderich made totally unsupported accusations against Daniel
   which is 100% unfair treatment and taking unfair advantage of Daniel by
   USC in clear violation of its promises stated above. Since the
   unsupported accusations made by Tenderich, trigged a USC disciplinary
   process which could deprive Daniel of properly earned credits in PR 429,
   which was necessary for his graduation, it could not only deprive Daniel of
   properly earned credits required for his graduation from USC but also USC
   degree. USC allowed Tenderich to make unsupported accusations since
   he was USC Professor and Daniel's instructor while Daniel was just a USC
   student. That is a blatant violation of USC promises not to treat Daniel
   unfairly and not to take unfair advantage of him, and USC binding



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   obligation which could affect the Plaintiff and in fact damaged the Plaintiff
   by causing him financial losses.


     2. SJACS treated Unfairly and took unfair advantage of Daniel.
  I n December 2016 Prof. Tenderich assigned C grade to Daniel in PR 429
  class. On 4/19/2017 Barton sent Daniel his SJACS decision. It states on
  page 3: "Based upon preponderance of the information presented in this
  case, the Office of Student Judicial Affairs and Community Standards finds
  through Summary Administrative Review, that the student is responsible
  for violating section of the Code as listed above." Page one lists the
  sections: 11.21 any act that gains or it is intended to gain an unfair
  academic advantage... 11.31A : Dishonesty... . It states on page 2, that
  Daniel's duly earned grade C was changed by USC's SJACS to F.
    USC's decision in fact deprived Daniel not only of duly earned credits but
  also of USC degree/diploma. In addition, page 2 stated that Daniel was
  required to write 4-5 page ethics essay. Paragraph five, stated: Further,
  the properties of the PDF document submitted by Mr. Kowbel (referring to
  PDF file Daniel submitted on October 17th at 11:49: 15 p.m.) show a date
  stamp of October 17, 2016, confirming that the document was created six
  days after the deadline for the assignment." That statement is not
  supported by any evidence since as stated above file creation date in
  metadata Barton sent to Daniel on 12/16/2016 could not represent original
  PR 429 PDF file creation date. Therefore, metadata provided by Barton
  provides absolutely no evidence when the original PR 429 PDF was in fact
  created. Thus, SJACS' Barton made his decision affirming unsupported
  Tenderich's accusation having absolutely no supporting evidence to affirm
  such unsupported accusations.
  . Thus, SJACS changed unfairly Daniel's properly earned C grade to F
  depriving Daniel of earned USC credits required for graduation and USC
  degree. In addition, Barton asked him to write ethics essay with
  ABSOLUTELY no supporting evidence. That is unfair treatment and
  taking unfair advantage of Daniel by USC since Barton was Judicial Officer
  of USC with all the powers vested in him by USC while Daniel was just a
  USC student.

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   That is a blatant violation of USC promises to treat Daniel fairly and not
   take unfair advantage of him, and its binding obligations, as stated above
   which could affect the Plaintiff and in fact did damage the Plaintiff by
   causing him financial losses.


      3. Daniel's APPEAL.
  Daniel was absolutely APPALED by the unfair treatment he received from
  USC. On December 7th, after interview with Barton, Daniel filed a
  complaint against Barton with SJACS asking for a FAIR Judicial Officer.
  But SJACS did not even bother to acknowledge his request and allowed
  BARYON to render baseless and not supported by any evidence decision.
  On May 3, 2017 Daniel filed his Appeal, Exhibit A. On page 1 it states:
  "The review process was fundamentally flawed, Biased, Unfair."


     4. USC Appeal Panel's Decision is totally unfair and took unfair
        advantage of Daniel.
    USC Appeal Panel's Decision, Daniel received from Malhotra, senior
   adviser to Carry on July 29th, 2017. The Appeal Panel, page 1 convened
   on July 17, 2017 to consider Daniel's Appeal discussed above. The
   Appeal Panel, page 3 stated: "The SBAP affirms the conclusions and
   sanctions made by SJACS in case 20160245," The Appeal Panel's
   decision provided absolutely no evidence to support otherwise totally
   unsupported accusations made by Tenderich, and affirmed by Barton with
   no supporting evidence as explicitly stated above.
   The Appeal Panel upheld Barton's decision which had absolutely no
   supporting evidence as stated explicitly above. In fact: it changed Daniel's
   d uly earned grade from C to F depriving him of properly earned credits and
   USC degree. In addition, it was affirming Barton's decision forcing Daniel
   to write a five page essay on ethics. That was the ultimate USC unfairness
   to use unsupported accusations against Daniel by Tenderich, and totally
   reject 33 page factual Appeal Daniel submitted on May 3, 2017 and
   deprived him of duly earned USC credits and a USC degree. If Daniel had
   the earned credits for PR 429 he could graduate from USC.


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     In addition, the Appeal Panel's Decision totally ignored the evidence
  provided in Daniel's Appeal that the whole SJACS' interview process was
  fundamentally unfair, section I of the Appeal " Mr. Barton conducted unfair
  and biased interview", pages 6 to 7. Specifically page 7 states: " My father
  called SJACS asking how Justice can be served at SJACS. He was told
  have the right to replace Mr. Barton with another impartial Judicial Officer
  but I have to make it in writing. I made very specific request in my
  complaint sent to SJACS on Dec. 7t" asking SJACS to replace Mr. Barton,
  who has proven during the interview as totally unfair and biased....Mr.
  Barton has shown in his Summary exactly the same pattern as identified in
  m y complaint, 100% biased and unfair review. Only 100% wrong decision
  could result based upon his conduct in blatant violation of USC policy on
  fairness". Page 9 states: "When I asked within my full rights as a USC
  student to present me with any evidence during the interview, Mr. Barton
  stated: You need no evidence just to say the truth. That is a highly
  U NFAIR treatment to simply imply you are a LIAR and no evidence is
  needed". Page 29 of Daniel's Appeal stated: " Under no circumstances
  PDF Document properties file creation date can provide evidence that the
  original file was not created on October 11th in my case based upon the
  undisputed record. On the hand, the PDF Document time stamp/date
  stamp could had never be changed and it would indeed provide evidence if
  the original file was or was not created on October 11th. Therefore the
  totality of evidence 100% dis proves Prof. Tenderich's second claim and
  the preponderance of evidence is 100% in my favor on the second claim
  since there is no evidence on the second claim provided by Mr. Barton
  and Prof. Tenderich". Section III A " Mr. Barton grossly committed gross
  negligence amounting to reckless conduct in his total failure to follow due
  diligence as the mandatory requirement of fair and impartial interview",
  pages 14 to 19 provide additional evidence of unfairness. Page 19
  states: "That was absolutely flawed process, which was solely used by Mr.
  Barton to exonerate himself and Prof. Tenderich against charges filed by
  m y Father with USC Provost Office. The only way Judicial Officer Barton
  could had exonerated himself and Prof. Tenderich is to act in reckless
  disregard of the truth. That is exactly what happened in this review
  process. USC, implied in fact, fairness standard prohibits Mr. Barton
  simply to say IT IS IMMATERIAL only because he did not want to
  understand it so INJUSTICE can be served in my case in order to help

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   himself and Prof. Tenderich in my Witness complaints against them. That
   is 100% Unfair, Biased and Flawed review process".
   Since USC Appeal Panel decision was final within USC, it in fact finally
   deprived Daniel of his earned USC credits required for his graduation from
   USC and USC degree.
   That was ultimately unfair treatment of Daniel and taking unfair advantage
   of him by USC Appeal Panel, with all the Powers USC President vested in
   them per USC regulations while Daniel was just a USC students with
   absolutely no powers at USC to seek a FAIR treatment at USC.
   That is blatant violation of USC's promises not to treat Daniel unfairly and
   not to take unfair advantage of him, which was binding obligation on USC
   as stated above which could affect the Plaintiff as stated above and in fact
   did damage the Plaintiff by causing him financial losses associated with
   paying $455,000 for Daniel's education at USC.


      a) USC has utterly failed to follow its strict, mandatory publicly stated
         policy on preponderance of evidence in Daniel's SJACS case.


      1. USC per its publicly stated policies was required to follow its
         preponderance of evidence standard in reaching its initial decision,
         and its Appeal Panel's Decision.
   USC policy defined that standard as: "Preponderance of evidence means
   that based upon totality of evidence and reasonable inferences drawn
   therefrom, it is more likely than not that the Respondent committed the
   prohibited conduct charged."


     2. In its initial SJACS' decision, Barton was required to use
        preponderance of evidence standard to reach his decision.
  Daniel's Appeal, Exhibit A, section III A, pages 14 to 19 and section VII, "
  M r. Barton violated USC Student Conduct Code Section 10.11.2 Standard of
  Proof". Pages 26 to 30 provide direct evidence that Barton has utterly
  failed to apply this standard. As stated above, Barton on page 3 of his

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   decision claimed to uphold preponderance of evidence USC standard.
   Page 29 of Daniel's Appeal states: " As 100% proved in section Ills,
   Exhibit C file creation date of October 17, 6:52:15 p.m. can not represent
   the original file creation date. As the matter of undisputed facts, there is
   absolutely no evidence on the record to support Prof. Tenderich's
   conclusion that my PR 429 Mid Term PDF was not created on October
   1 1 t" ". Using absolutely no evidence to support Barton's decision directly
   violated USC preponderance of evidence standard as stated above.
   Barton's decision to change Daniel's C grade to F deprived him of required
   credits for his graduation and USC degree. Therefore, USC explicitly
   violated its promise, which was binding obligation as stated above which
   could affect the Plaintiff as stated above and in fact it did damage the
   Plaintiff by causing him financial losses.


     3. In its Appeal Decision, USC was required to use the same
        preponderance of evidence standard which Barton was required to
        use in his initial decision.
   USC Appeal Panel's decision, totally ignored all the undisputed evidence
   presented in Daniel's Appeal, Exhibit A.. It makes absolutely no mention
   of any direct evidence, sections III and VII of the Appeal, 100% proving
   that Barton failed to apply that standard in reaching his 100% unsupported
   decision. Pages 26 and 27 of Daniel's Appeal stated:" As a matter of
   undisputed fact, Mr. Barton in his Summary omits the critical second claim
   Prof. Tenderich made against, PDF Document dare stamp of 11:52:15
   a.m, and the full date in Exhibit C, October 17 6:52:15 p.m. In terms of any
   evidence he only states my USC IT email as any evidence supporting my
   case. He utterly disregards my Witness two affidavits and all other material
   evidence stated above properly submitted to SJACS. Prof. Tenderich's
   complaint against me has two basic claims: sent email allegedly proving
   did not submit my original mid term report to Prof. Tenderich on October
   1 1th, alleged date stamp again allegedly proving I did not submit my Mid
   term report to Prof. Tenderich on October 11th.
  On the first claim Prof. Tenderich provides just one evidence, USC IT log.
  It is missing the October 11th entry of my original submission. Just the mere
  fact that IT log does not contain the October 11th entry, is used as the

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   evidence to prove that the email in question was never sent. As discussed
   above I provided the following evidence to 100% dis prove Prof.
   Tenderich's first claim.
   My Witness Affidavit I presented undisputed evidence which clearly
   established the following facts: the email system is not 100% reliable, it
   can be affected by a plethora of internal and external factors resulting in the
   actual sent email not reaching the intended recipient. The above
   presented summary of undisputed evidence presented by my Witness and
    clearly established preponderance of evidence in my favor on Claim I".
   Page 29 of Daniel's Appeal stated: " As 100% proved in Section IIIA: if the
   original file was in fact created on Monday October 17 6:52:15 p.m. per
                                                                             17tH
   Exhibit C, IT COULD HAD NOT been sent to him on Monday October
   at 11"56;15 a.m. That fact is 100% supported by the factual and
   documentary evidence... Under no circumstances PDF Document
   properties file creation date can provide evidence that the original file was
   not created on October 11th in my case based upon the undisputed record.
   On the hand, the PDF Document time stamp/date stamp could had never
   be changed and it would indeed provide evidence if the original file was or
   was not created on October 11th. Therefore, the totality of evidence 100%
   dis proves Prof. Tenderich's second claim and the preponderance of
   evidence is 100% in my favor on the second claim since there is no
   evidence on the second claim provided by Mr. Barton and Prof.
   Tenderich".
    Therefore, USC Appeal Panel has utterly failed to apply the required USC
   standard by not taking into considerations and rejecting all the evidence on
   the record proving that Tenderich's accusations have absolutely no factual
   support as stated above.
   Since USC Appeal Panel's Decision was final within USC it deprived
   Daniel of earned credits required for his graduation and USC degree. That
   is a USC's blatant violation of its preponderance of evidence standard and
   its binding obligation as explicitly stated above which could affect the
   Plaintiff and in fact did greatly damage the Plaintiff who suffered $455,000
   financial loss since USC deprived Daniel of his USC degree.



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      b) USC's unfairness, taking unfair advantage of Daniel and failure to
         follow its policy on Student Conduct Code in a fair manner affected
         the Plaintiff in a highly negative way and damaged him.
   The unimaginable unfairness in blatant violation of USC Code of Ethics
   promise " we do not take unfair advantage of anyone" and very specific
   promise made by USC in Spring 2013 to the Plaintiff, never treat Daniel
   unfairly, by depriving Daniel of USC credits and USC degree/diploma and
   asking him to write 5 page essay with absolutely no supporting evidence
   brought Daniel to a clearly critical suicide stage. USC's despicable
   unfairness and violation of USC specific Student Conduct policies in its
   treatment of Daniel, in total violation of USC promises, has caused the
   Plaintiff the loss of $455,000 paid for his education at USC and huge
   continuing emotional distress as directly related to USC bringing Daniel to a
   critical suicide stage. Even, if the Plaintiff paid unjustly USC one more
   time for PR 429, Daniel's mental state directly created by USC breach of
   implied in fact binding obligations would had never allowed him to take this
   class again and write the 5 page essay on ethics in light of despicable
   and unimaginable UNFAIRNESS USC inflicted on him without huge risk of
   triggering committing suicide. Therefore, USC's conduct as described
   above resulted in the net loss of $455,000 to the Plaintiff. USC degree was
   the reason Plaintiff has paid $455,000 for his son's educational expenses
   at USC, but USC failure to comply with its obligations as stated above in
   fact deprived Daniel of his USC degree/diploma and directly caused the
   Plaintiff a loss of $455,000.


   C. Plaintiff's performance under implied contract
   Plaintiff has 100% performed under implied contract by the following facts:
   Plaintiff has paid USC $211, 000 for his son tuition and fees.
      i)    in total the Plaintiff has paid $455,000 for all his son educational
           expenses at USC following USC offer made to the Plaintiff by
           sending his son #o USC.




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   D. Causation between USC breach of implied contract and Damages to
   the Plaintiff.
   USC breach ~f #i-~e two implied in fact contractua~ cbliga#ions to the
   Plaintiff is a direct result of damages suffered by the Plaintiff.
   11SC breach of implied in fact contras# is highly material_ Plaintiff did not
   get at ALL what was promised by USC to him in the above stated ~+~e two
   implied in fact promises on which the Plaintiff had predicated sending his
   to USC, paying USC for his tuition and fees and, paying for all other
   educational expenses at USC.


   E. Dama~e~
     ~'laintiff has suffered ~~#only mcneta~y damagzs totaling $455,000 since
   USC deprived Daniel of his degree which was the sole reason, Plaintiff has
   paid all the educational expenses for Daniel. Also implied contract breach
   by USC resulted in a great emotional distress of Plaintiff, causing near
   irreparable injury on a number of occasions ,which continues up to date,
   i nflicted on him by USC Breach of implied contract which directly brought
   Daniel to a suicide stage in the totally unfair manner.
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